       Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 1 of 42




 1   UNITED STATES DISTRICT COURT
     WESTERN DISTRICT OF NEW YORK
 2
     _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ __ x
 3   JOHN W. KARCZ                                                   Civil Action No.

 4                                                                         CIVIL COMPLAINT
     Plaintiff,
 5
                    -against-                                             JURY TRIAL REQUESTED
 6
     The City of North Tonawanda, New York,
 7
     The City of North Tonawanda Police Department,                                              45
 8   The County of Erie, New York,
     The Erie County District Attorney's Office,
 9   North Tonawanda Police Detective Larry Kuebler, Jr.,
     North Tonawanda Police Officer Greg Benjamin,
10
     North Tonawanda Police Officer Lee Bolslover,
11   North Tonawanda Police Officer Thomas Krantz,
     North Tonawanda Police Officer Chris Mamot,
12   North Tonawanda Police Officer Jeffrey Swick,
     North Tonawanda Police Officer Frank Burkhart,
13
     North Tonawanda Police Lieutenant Nick Iwanicki,
14   Erie County District Attorney John J. Flynn,
     Erie County Assistant District Attorney Brian P. McNamara
15

16
     Defendants.
17      - -- -- - - - -- - -- - - ----'x
18
     Plaintiff JOHN W. KARCZ, for and on behalf of himself;
19

20   Hereby brings this action under Title 42 U.S.C. §1983 to redress his civil and legal rights, and
21
     alleges as follows:
22
                                      PRELIMINARY STATEMENT
23

24            1.    This is a civil rights action in which the plaintiff, JOHN W. KARCZ, seeks

25
     relief for the defendants' violations of his rights secured by the Civil Rights Act of 1871, 42.
26
     U.S.C. 1983, by the United States Constitution, including its First, Fourth and Fourteenth
27

28


                                                   COMPLAINT
       Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 2 of 42




 1   Amendments, and by the laws and Constitution of the State of New York. Plaintiff seeks

 2
     compensatory and punitive damages, an award of costs, interest and attorney's fees, and such
 3
     other and further relief as this Court deems just and proper.
 4

 5
                                          JURISDICTION AND VENUE
 6
             2.      This action is brought pursuant to 42 U .S.C. § 1983, and the First,
 7

 8   Fourth and Fourteenth Amendments to the United States Constitution. Jurisdiction is conferred upon

 9   this Court by 28 U.S.C. §§ 1331 and 1343, this being an action seeking redress for the violation of the
10
     Plaintiffs' constitutional and civil rights.
11
             3.      Plaintiff further invokes this Court's supplemental jurisdiction, pursuant to 28
12

13   U .S.C. §1367, over any and all state law claims and as against all parties that are so related to claims

14
     in this action within the original jurisdiction of this court that they form part of the same case or
15
     controversy.
16

17
             4.      Venue in this District is proper under 28 U.S.C . 13910 (b) and (c) in that Defendants
18
     the CITY OF NORTH TONAWANDA, New York, and the COUNTY OF ERIE, N.Y., are
19
     administratively located within the Western District of New York, and the events giving rise to this
20

21   claim occurred within the boundaries of the Western District of New York.

22                                         JURY TRJAL DEMANDED
23
             5.      Plaintiff demands a trial by jury on each and every one of his claims as pleaded herein.
24

25

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                                                    COMPLAINT
       Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 3 of 42




 1                                                PARTIES
 2
             6.     At all times relevant to this action, Plaintiff JOHN W. KARCZ, alternately referenced
 3
     herein as "the Plaintiff," was a resident of Niagara County, New York, and was at all times relevant
 4

 5
     herein residing at 357 Daniel Drive, in the CITY OF NORTH TONAWANDA, New York, 14120.

 6
             7.     Defendant the CITY OF NORTH TONAWANDA is and was at all times relevant
 7
     herein a municipal entity created and authorized under the laws of the State of New York. It is
 8

     authorized by law to maintain a police department which acts as its agent in the area of law
 9

10   enforcement and for which it is ultimately responsible. Defendant the CITY OF NORTH

11
     TONAWANDA assumes the risks incidental to the maintenance of a police force and the
12
     employment of police officers. Defendant the CITY OF NORTH TONAWANDA was at all times
13

14
     relevant herein the public employer of Defendants Chief of Police Roger ZGOLAK, North

15   Tonawanda Police Officer Hagop OTABACHIAN, North Tonawanda Police Officer Michael
16
     LONCAR, and North Tonawanda Police Lieutenant Nick IWANICKI.
17

18          8.     Defendants ZGOLAK, OTABACHIAN, LONCAR, and IWANICKI are and were at
19
     all times relevant herein duly appointed and acting officers, servants, employees and agents of the
20
     North Tonawanda Police Department ("NTPD"), a municipal agency of Defendant the CITY OF
21

22   NORTH TONA WANDA, New York. At all times relevant herein, the individual defendants were

23   acting under color of the laws, statutes, ordinances, regulations, policies, customs and/or usages of
24
     the State of New York and the North Tonawanda Police Department, in the course and scope of their
25
     duties and functions as officers, agents, servants, and employees of Defendant the CITY OF NORTH
26

27
     TONAWANDA, New York, were acting for, and on behalf of, and with the power and authority

28
                                                        3

                                                  COMPLAINT
       Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 4 of 42




 1   vested in them by the CITY OF NORTH TONAWANDA, New York and the North Tonawanda

 2   Police Department, and were otherwise performing and engaging in conduct incidental to the
 3
     performance of their lawful functions in the course of their duties. They are sued individually and in
 4
     their official capacity.
 5

 6           9.     By the conduct, acts, and omissions complained of herein, Defendants
 7
     ZGOLAK, OTABACHIAN, LONCAR, and IWANICKI violated clearly established constitutional
 8
     standards under the First and Fourteenth Amendments to the United States Constitution of which a
 9

10   reasonable police officer under the circumstances would have known.

11                                          NOTICE OF CLAIM
12
             10.    On August 4, 2019, Plaintiff timely filed a Notice of Claim with the GMU § 53
13
     Designee of the CITY OF NORTH TONAWANDA and ERIE COUNTIES, setting forth the facts
14

15
     underlying Plaintiffs claim against The County of Erie, New York, The Erie County District

16   Attorney's Office, The City of North Tonawanda, New York, The City of North Tonawanda Police

17   Department, Erie County District Attorney John J. Flynn, Erie County Assistant District Attorney
18
     Brian P. McNamara, and North Tonawanda Police Officer Thomas Krantz.
19

20          11.     On August 3, 2018, Plaintiff timely filed a Notice of Claim with the GMU § 53
21
     Designee of the City of North Tonawanda setting forth the facts underlying Plaintiffs claim against
22
     The City of North Tonawanda, New York, The City of North Tonawanda Police Department, The
23

24
     City of North Tonawanda City Attorney's Office, North Tonawanda Judge Shawn P. Nickerson,

25   North Tonawanda Chief of Police Roger Zgolak, North Tonawanda City Attorney Luke Brown,

26   North Tonawanda Police Detective Larry Kuebler, Jr., North Tonawanda Police Officer Greg
27
     Benjamin, North Tonawanda Police Officer Chris Mamot, North Tonawanda Police Officer Jeffrey
28
                                                       4

                                                 COMPLAINT
       Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 5 of 42




 1   Swick, North Tonawanda Police Officer Frank Burkhart, and North Tonawanda Police Lieutenant

 2   Nick Iwanicki, for the events leading up to and relating back to the current civil action.
 3

 4           12.    As the actions of Defendants, The Erie County District Attorney's Office, The City of

 5   North Tonawanda, New York, The City of North Tonawanda Police Department, Erie County
 6
     District Attorney John J. Flynn, Erie County Assistant District Attorney Brian P. McNamara, and
 7
     North Tonawanda Police Officer Thomas Krantz caused this matter to be intentionally protracted for
 8
     an additional 13 months the Plaintiff asks the court to accept that filing of notice tolled, and only
 9

10   having reached ripeness for suit upon the final of three dismissals of criminal charges in the

11   Plaintiffs favor.
12

13          13.     Accepting the July 3, 2018, Notice of Claim as tolled until the current date of accrual,

14   May 7, 2019, will not prejudice those Defendants in any way; as their attorneys, Kevin Cope and
15
     Ted Graney accepted service of the Notice, sent letters, and had several conversations about this
16
     matter with the Defendants and Plaintiff at that time. In fact, Graney suggested these issues be tolled
17

18
     pending the outcome of the pending (false) criminal charges.

19
            14.     As stated previously, all charges were dismissed in favor of the accused on or about
20

21   May 7, 2019.

22
            15.     The City of North Tonawanda assigned a file number to Plaintiffs claims, and their
23

24   attorneys, Ted Graney and Kevin Cope, have sent letters which acknowledged service of the

25   Plaintiffs Notice of Claims.
26

27

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                                                   COMPLAINT
       Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 6 of 42




 1           16.    The County of Erie assigned a file number to Plaintiffs claims, and their attorney, Ken

 2   Kirby, has sent letters which acknowledged service of the Plaintiffs Notice of Claims.
 3

 4           17.    Plaintiff engaged in discussion with attorneys for the North Tonawanda and Erie

 5
     County during which a fair settlement was offered to avoid protracted litigation.
 6

 7           18.    To date, no answer has been received by Plaintiff and no compensation has been
 8
     offered by Defendants the CITY OF NORTH TONAWANDA or COUNTY OF ERIE, N.Y., in
 9
     response to this claim.
10

11
             19.    This action has been commenced within one year and ninety days of the date of
12
     occurrence of the events giving rise to this Complaint._
13

14                                         STATEMENT OF FACTS
15
                                                  Background
16

17
             20.    On or about June 29 th , 2015, Defendant Larry Kuebler moved into a vacant, foreclosed
18
     home next door to the Plaintiffs.
19

20
             21.    Public Records show Kuebler was unable to afford the home, but was able to finance
21
     the house in his father's name on August 21, 2015.
22

23
            22.     Upon information and belief, Kuebler's friend and colleague, Defendant Tom Krantz
24
     caused a "Press Release" to be created, which allowed Kuebler to approach the foreclosing mortgage
25
     company with as many 14 different articles and print-outs about a cannabis cultivation arrest made to
26

27   appear as if an armed felon was dealing drugs in the home next door.

28
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                                                  COMPLAINT
       Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 7 of 42




 1           23.    This conspiracy to manipulate the Bank caused a "short sale" to Kuebler's father

 2   which resulted in an immediate equity profit of over $50,000.00 to Kuebler due to the libel.
 3

 4           24.    In the first days July of 2015, Defendant Kuebler was observed at approximately

 5
     12:00 a.m. staring into the Karcz family's bedroom window while driving a police vehicle. The
 6
     Plaintiffs had never seen Mr. Kuebler before.
 7

 8
             25.    Several days later, Defendant Kuebler approached Mr. Karcz on his property at 357
 9
     Daniel Drive, North Tonawanda, New York, and made the following alarming statements: "I'm a
10
     North Tonawanda police officer who is moving in next door to you, and I know all about you and
11

12
     what went on here." and "I understand that you have something against police officers and your wife

13   turned (Police Officer) Jeff Shiesley in for insurance fraud."

14

15          26.     In or around early November 2016, Defendant purchased 2 pit-bull mix dogs and

16   placed them on his property at 367 Daniel Drive, North Tonawanda, New York.
17

18          27.     Defendant did not erect a fence between his property and the Plaintiffs' properties and

19   put the dogs in his backyard, as a result the dogs entered the Plaintiffs' properties. This is a violation
20
     of the City of North Tonawanda Codified Ordinance Chapter 33, § 33-2 (Prohibitions) Which
21
     states: "It shall be unlawful for any owner of a dog in the City of North Tonawanda to permit
22
     or allow such dog to: A. Run at large or B. Be off the owner's property unless leashed by a
23

24   chain or leash not exceeding six feet in length and in charge of and under the control of a

25   competent person."
26

27

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                                                   COMPLAINT
       Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 8 of 42




 1           28.    Defendant's dogs entered and trespassed on the Plaintiffs' properties both on Daniel

 2   Drive and Fredericka Street several times. This is a violation of the City of North Tonawanda
 3
     Codified Ordinance Chapter 33, § 33-2 (Prohibitions) Which states: "It shall be unlawful for
 4
     any owner of a dog in the City of North Tonawanda to permit or allow such dog to: A. Run at
 5
     large or B. Be off the owner's property unless leashed by a chain or leash not exceeding six feet
 6

 7   in length and in charge of and under the control of a competent person."

 8
             29.    As a result of this danger, the Plaintiff made a complaint and Kuebler was charged in
 9

10   North Tonawanda City Court under the City of North Tonawanda Codified Ordinance Chapter 33, §

11   33-2 on or about January 24, 2017.
12

13           30.    On or about January 26, 2017, Kuebler and Tom Krantz conspired to have a warrant

14   produced by Katherine Alexander, an appointed judge who a few days earlier was answering
15
     telephones in the City Attorney's Office.
16

17
             31.    In his complaint, Kuebler claimed that he'd been called a "pussy" by the Plaintiff from
18
     about 20 feet away, while they were in their respective yards.
19

20
             32.    On January 26, 2017, Kuebler's friends and co-workers, Defendants Benjamin and
21
     Bolsover, falsely arrest plaintiff with a warrant for harassment of Kuebler.
22

23
             33 .   The warrant alleges false incident on a date when Plaintiff proves he was 400 miles
24
     away.
25

26

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                                                  COMPLAINT
      Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 9 of 42




 1          34.    On January 27, 2017 Defendant Nickerson issues" temporary order of protection" for

 2   Police Officer Kuebler without good cause hearing as required by law in all matters except Domestic
 3
     Violence.
 4

 5          35 .   On February 18, 2017 Nickerson recuses from all matters regarding Mr. Karcz.
 6

 7          36.    On February 22, 2017, Nickerson recuses the entire North Tonawanda City Court.
 8

 9          37.    On November 14, 2017, the Non-criminal allegation of harassment in the 2 nd

10   degree was terminated in the Plaintiffs favor.
11

12                                       MAY 12, 2018

13

14          38.    On or about May 12th , 2018 at about 5:47 p.m. at 357 Daniel Drive, North Tonawanda

15   New York, 14120, Kuebler, without provocation, angrily rushed towards me at 5:28 p.m., screaming

16   and waving a broomstick at me while I was 60 feet away, in my own driveway, speaking with my
17
     wife. I went in the house and cooked my family dinner.
18

19                 On or about May 12th, 2018 at about 6:47 p.m. at 357 Daniel Drive, North Tonawanda
            39.
20
     New York, 14120, Defendants North Tonawanda Police Officer Greg Benjamin, North Tonawanda
21
     Police Officer Chris Mamot, North Tonawanda Police Officer Jeffrey Swick, North Tonawanda
22

23
     Police Officer Frank Burkhart, in conspiracy with, and at the direction of North Tonawanda Police

24   Detective Larry Kuebler, Jr. and North Tonawanda Police Lieutenant Nick Iwanicki, accosted me at

25   my home and claimed that Kuebler had been called a "pussy" by the Plaintiff from about 60 feet
26
     away, while we were in our respective yards.
27

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                                                COMPLAINT
      Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 10 of 42




 1           40.    Kuebler also claimed that I had "stomped my foot at him," also from 60 feet away.

 2

 3
             41.    Kuebler also claimed that I was enjoined by an order of protection from being at my

 4   own home.

 5

 6           42.   No order of protection was produced, but Defendants North Tonawanda Police Officer

 7   Greg Benjamin, North Tonawanda Police Officer Chris Mamot, North Tonawanda Police Officer
 8
     Jeffrey Swick, North Tonawanda Police Officer Frank Burkhart, in conspiracy with, and at the
 9
     direction of North Tonawanda Police Detective Larry Kuebler, Jr. and North Tonawanda Police
10
     Lieutenant Nick Iwanicki, committed false arrest; charging me with criminal contempt in the 1st
11

12   Degree, a felony.

13
            43.    On or about May 12th , 2018 at about 6:51 p.m. at 357 Daniel Drive, North Tonawanda
14

15   New York, 14120, when defendant North Tonawanda Police Officer Frank Burkhart, assaulted me

16   by wrenching my surgically repaired right arm behind my back without cause, intentionally caused
17
     me psychological and physical injury in addition to emotional distress.
18

19          44.    When I asked Officer Swick and Burkhart why I was being falsely arrested for,
20
     Burkhart said: "whatever you did over there, we were just told to bring you in by our lieutenant,"
21
     indicating orders from Iwanicki.
22

23
            45.    On or about May 121h, 2018 at about 6:54 p.m. in the, North Tonawanda, New York,
24
     14120, when defendants North Tonawanda Police Officer Jeffrey Swick, North Tonawanda Police
25
     Officer Frank Burkhart, refused to read my Miranda rights in violation of my rights accorded by the
26

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                                                 COMPLAINT
      Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 11 of 42




 1   5th and 14th Constitutional Amendments, Rights, and Privileges, and thereafter attempted to question

 2   me under duress of false arrest.
 3

 4           46.    On or about May 12th , 2018 at about 7:00 p.m. at 216 Payne Avenue, North

 5   Tonawanda, New York, 14120, when defendants North Tonawanda Police Officer Jeffrey Swick,
 6
     North Tonawanda Police Officer Frank Burkhart, intentionally caused me physical injury by
 7
     wrenching my right shoulder, arm, and back; causing bruising, as well as twisting my previously
 8

 9
     injured left foot and ankle without cause, and a competent police officer would have been on notice

10   that it is unreasonable to forcibly assault a citizen.

11

12           47.    I was refused bail, stripped of my shoes, and made to stand in a concrete cell for the

13   next 14 hours, without being charged with a crime.

14

15           48.    On or about May 12th beginning at about 7:20 p.m. and continued into May 13th,

16   2018, at approximately 1:00 p.m. at 216 Payne Avenue, North Tonawanda, New York, 14120, when
17
     defendants North Tonawanda Police Officer Greg Benjamin, North Tonawanda Police Officer Chris
18
     Mamot, North Tonawanda Police Officer Jeffrey Swick, North Tonawanda Police Officer Frank
19
     Burkhart, in conspiracy with and at the direction of North Tonawanda Police Detective Larry
20

21   Kuebler, Jr. and North Tonawanda Police Lieutenant Nick Iwanicki, and several other un-named

22   North Tonawanda police officers intentionally caused me psychological and physical injury in

23   addition to emotional distress, by refusing me medical care, reasonable accommodations, and
24
     detaining me, after taking my safe and harmless sandals, which caused me to suffer greater injury or
25
     indignity in that process than other arrestees, all of which any competent police officer would have
26

27
     been on notice that it is unreasonable to do so, by forcing me to stand, with injured feet on a filthy,

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                                                          11

                                                    COMPLAINT
      Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 12 of 42




 1   concrete floor in a 4 foot by 7 foot cell filled with urine, sputum, blood, and several other

 2   unidentifiable forms of debris and filth; any competent police officer would have been on notice that
 3
     it is unreasonable to forcibly detain and a disabled citizen without reasonable and clean facilities.
 4
     These acts were committed in violation of my rights under the 1st, 4th, 5th, 6th, 8th, 9th, and 14th
 5
     Constitutional Amendments.
 6

 7
     49.    On or about May 12th beginning at about 7:00 p.m. and continued into May 13th, 2018, at
 8
     approximately 1:00 p.m. at 216 Payne Avenue, North Tonawanda, New York, 14120, when
 9

10   defendants North Tonawanda Police Officer Greg Benjamin, North Tonawanda Police Officer Chris

11   Mamot, North Tonawanda Police Officer Jeffrey Swick, North Tonawanda Police Officer Frank
12
     Burkhart, in conspiracy with and at the direction of North Tonawanda Police Detective Larry
13
     Kuebler, Jr., North Tonawanda Police Lieutenant Nick Iwanicki, several other un-named North
14
     Tonawanda police officers, and North Tonawanda City Court Judge Shawn Nickerson, intentionally
15

16   caused me psychological and physical injury in addition to emotional distress, by refusing me

17   medical care, reasonable accommodations, the accommodations were completely covered with dried
18
     bodily fluid and filth; the toilet was filled with bodily waste and did not work; the sitting bench
19
     smelled like urine and vomit; and despite the cracked and damaged windows I was not allowed
20
     sufficient blanket to stay warm, or in any way rest due to both my injuries at the hands of the police
21

22   as aforesaid, and my permanent disabilities; most maliciously, I was intentionally imprisoned for

23   over 18 hours in this filthy "closet-sized" cell with no running water! Any competent police officer
24
     would have been on notice that it is unreasonable to forcibly detain and a disabled citizen without
25
     reasonable and clean facilities deprived of working water, but this wasn't simple detention, it was
26

27

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                                                        12

                                                   COMPLAINT
      Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 13 of 42




 1   revenge for my previously filed federal lawsuit against the North Tonawanda Police Department

 2   under 42 U.S .C. § 1983.
 3

 4           50.     These acts were likewise intentionally committed in violation of the 1st, 4th, 5th, 6th,

 5   8th, 9th, and 14th Constitutional Amendments.
 6

 7           51.     In so doing, Defendants North Tonawanda Police Officer Greg Benjamin, North
 8
     Tonawanda Police Officer Chris Marmot, North Tonawanda Police Officer Jeffrey Swick, North
 9
     Tonawanda Police Officer Frank Burkhart, in conspiracy with, and at the direction of North
10
     Tonawanda Police Detective Larry Kuebler, Jr. and North Tonawanda Police Lieutenant Nick
11

12   Iwanicki intentionally caused me psychological and physical injury, in addition to emotional distress

13   by unlawfully entering my curtilage and homestall to commit unlawful acts in violation of my rights

14   under the 1st' 4th ' 5th' 6th ' 8th ' 9th, and 14th Constitutional Amendments .
15

16           52.     I was held without bail through Sunday, and unlawfully arraigned for Criminal
17
     Contempt in the First Degree by Defendant Nickerson for "lunging at Kuebler as if (I) were going to
18
     run at him ... ," according to the felony complaint, a document facially insufficient and devoid of
19
     probable cause.
20

21
             53.     Because of our previous relationship where, as City Attorney, Nickerson was sued by
22
     me and another party in semi-related lawsuit, Nickerson should have recused himself from any
23

24   finding of probable cause, as a neutral jurist would have been forced to given the scant nature of the

25   charge and lack of any order of protection to support it.
26

27

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                                                            13

                                                      COMPLAINT
      Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 14 of 42




 1           54.    Ultimately, Nickerson never had a finding of Probable Cause, at which time my

 2   warrantless arrest clearly came to be in violation of my 4th Amendment Rights.
 3

 4           55.    Nickerson needlessly set a high "Cash Only " bail, in excess of New York's bail

 5
     recommendations, which mandated that I remain unlawfully jailed for an additional one hundred and
 6
     twenty-minutes until the cash was delivered and processed.
 7

 8
             56.    The date when and the place where such claims arose was: On or about May 13th,
 9
     2018 beginning at about 11:30 a.m. at 216 Payne Avenue, North Tonawanda, New York, 14120,
10
     when defendant Shawn P. Nickerson, acting as City Court Judge committed and suborned unlawful
11

12   acts in violation of the 1st, 4th, 5th, 6th, 8th, 9th, and 14th Constitutional Amendments; Deprivation

13   of Constitutional Rights and Privileges, Intentional Infliction of Emotional Distress (also under Color

14   of Law), 42 U.S.C. § 1983, §1985; Conspiracy to Deprive Persons of Equal Protections of the Law
15
     (also under Color of Law), by the commission of Negligence, False Imprisonment, Cruel and
16
     Unusual Punishment, willful, malicious, and retaliatory actions against me for naming him in a
17

18
     federal lawsuit in August 2016; in that despite having known me in a positive way for many years,

19   being aware of my owning a home 7 blocks from his own which he visited on several occasions, and

20   having negative information as to the character and veracity of North Tonawanda Police Detective
21
     Larry Kuebler, Jr. , as well as having considered the insufficiency of the allegations against me,
22
     Nickerson, at the arraignment, refused to release me in my own recognizance.
23

24
            57.    without considering my ability to pay set an unreasonably high bail, and when I could
25
     not pay, ordered that I be jailed until the excessive amount was extorted from me, and paid in
26

27
     violation of applicable sections of28 U.S.C. §§ 1391 (b) and (c), 18 U.S.C. § 666, 18 U .S.C. § 872,

28
                                                        14

                                                  COMPLAINT
      Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 15 of 42




 1   and 18 U.S.C. § 880 for Extortion and Unlawful Conversion of Property; and 18 U.S.C. § 1962,

 2   Racketeering and Organized Crime. though presumed innocent, despite Supreme Court precedent,
 3
     and despite the availability of less restrictive alternatives to traditional bail, I was jailed because of
 4
     my inability to pay bail in violation of the United States and New York State Constitutions.
 5

     Furthermore, the U.S. Supreme Court has held that no person may be imprisoned solely because of
 6

 7   their indigence because doing so violates that individual's equal protection and due process rights.

 8   Nickerson did not explain why he thought the set bail amount was necessary to assure Karcz's future
 9
     court appearance, particularly when Karcz has never missed an appearance. Nickerson did not
10
     consider alternative forms of bail or pretrial services or explain why such less restrictive alternatives
11
     would not adequately assure Mr. Karcz' s return to court. A reasonable impartial jurist should know
12

13   an individual's fundamental right to freedom be based solely on whether he has the money to

14   purchase it (Bearden v Georgia, 461 US 660, 672-73 [1983]). This Supreme Court decision rests on
15
     the fundamental principle that there can be no equal justice under law if an individual' s right to
16
     freedom turns on their ability to purchase it, therefore Judge Nickerson knowingly and intentionally
17
     committed retaliatory Extortion for no reason other than me for naming him in a federal lawsuit in
18

19   August 2016.

20
            58.     Nickerson ordered me to appear for a Felony Hearing on May 17th, 2018.
21

22
            59.     I appeared for the Felony Hearing, but is told to leave the building thrice; after
23
     demanding due process, equal protection, and access to the courts from the judge, Alternate Judge
24

25   Faso goes on the record and refuses to hold the hearing.

26

27

28
                                                         15

                                                    COMPLAINT
      Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 16 of 42




 1           60.    I stated readiness for the Felony Hearing, inclusive of my witnesses being present;

 2   Faso conceded on the record that the District Attorney is present (Granchelli), but not prepared to
 3
     hold such hearing, which, by law, required my immediate exoneration, and a dismissal of charges.
 4

 5
             61.    I moved twice, both through oral motion and filed pleadings, for preliminary
 6
     dismissal. Judge Faso, still in his third week on the bench, appeared baffled and incompetent; and
 7
     refuses to act on the motions before the court, thereby violating my rights to due process.
 8

 9
             62.    On or about May 17th. 2018 beginning at about 1:30 p.m. at 216 Payne Avenue, Nort
10
     Tonawanda, New York, 14120, when in violation of my 1st, 4th, 5th, 6th, 8th, 9th, and 14th
11

12   Constitutional Rights (under Color of Law), as protected by 42 U.S.C. § 1983, §1985.

13
             63.   Despite being scheduled for a Felony hearing, and having several witnesses in
14

15   attendance, I was deliberately and maliciously interfered with by being refused access to the Courts

16   of the City ofNorth Tonawanda by (1.) the bailiffs at the security checkpoint; (2.) the Court clerks;
17
     (3.) I was then forcibly ejected through a backdoor by Tom Krantz and several North Tonawanda
18
     Police Officers who coerced me into coming into the Police Booking area; all to deliberately and
19
     maliciously interfere with and deny my right to seek adequate legal redress.
20

21
            64.    This caused injury and emotional distress by not allowing me the opportunity to
22
     present witnesses with fresh and relevant recollections of the events causing my ineffably false
23

24   arrest. This injury was intended to prevent my access to fundamental fairness and due process and

25   unlawfully gives the prosecution unlawful opportunity to shore up a case based on lies, fantasy, and
26
     revenge.
27

28
                                                       16

                                                 COMPLAINT
      Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 17 of 42




 1           65.    On or about May 17th, 2018 beginning at about 2:30 p.m. at 216 Payne Avenue, North

 2   Tonawanda, New York, 14120, when in violation ofmy l5t, 4 th , 5th , 6 th , 8th, 9th, and 14th Amendment
 3
     Constitutional Rights (under Color of Law), when, with no standing or permission to do so, in light
 4
     of the U.S. Supreme Court decision in Liteky v. United States; wherein it became decided that to
 5
     warrant recusal, a judge's expression of an opinion about the merits of a case, or his familiarity with
 6

 7   the facts or the parties, must have originated in a source outside the case itself; acting North

 8   Tonawanda City Court Judge James J. Faso, Jr. refused to conduct the Felony Hearing as required by
 9
     law, as to whether there was reasonable cause to believe that I committed a felony, and to consider
10
     filed motions for dismissal upon insufficiency of the prosecution's pleadings and their being
11
     unprepared for the Felony Hearing; which entitled me to dismissal of the charges.
12

13
             66.    In addition, I was denied my lawful and constitutionally- protected right to gain lawful
14
     insight into the weaknesses of the prosecution' s case, and the opportunity to cross-examine key
15

16   witnesses, most notably the arresting officer(s). This denied my right to enter this fundamental

17   witness' recollection into the record. Later, at a probable cause hearing or trial, if the State's witness
18
     tried to offer testimony different from what was offered at the PH, after the prohibited coaching and
19
     practice by the ADA which has taken place throughout the history of my interactions with this city;
20
     and this in itself is an additional and separate cause for action pursuant to Title 28 U.S. Code§ 1331.
21

22
            67.     On or about May 18th, 2018 at about 4:40 p.m. at 357 Daniel Drive, North Tonawanda
23
     New York, 14120, when defendant North Tonawanda Police Detective Larry Kuebler, Jr. unlawfully
24

25   entered my curtilage and homestall to commit unlawful acts in violation of the     ist,   4th , 5th , 6th, 81h,

26   9th , and 14th Constitutional Amendments; Deprivation of Constitutional Rights and Privileges,
27
     Intentional Infliction of Emotional Distress (also under Color of Law), 42 U.S.C. § 1983, §1985 ;
28
                                                         17

                                                   COMPLAINT
      Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 18 of 42




 1   Conspiracy to Deprive Persons of Equal Protections of the Law (also under Color of Law), by the

 2   commission of Defamation, Negligence, Invasion of Privacy, Assault, Harassment, willful,
 3
     malicious, and retaliatory actions against me for naming him in a federal lawsuit in August 2016; by
 4
     publicly, while intending to injure, physically threatened me with a dangerous weapon by coming
 5
     into my side yard and looking in my Dining Room window, while appearing to be armed with a
 6

 7   pistol, which caused me to reasonably expect and fear impending harm and significant injury.

 8

 9
             68.    On or about May 20th, 2018 at about 12:44 a.m. at 357 Daniel Drive, North

10   Tonawanda, New York, 14120, when defendant North Tonawanda Police Detective Larry Kuebler,

11   Jr. unlawfully entered my curtilage and homestall to commit unlawful acts in violation of the 4th , 9th ,
12
     and 14th Constitutional Amendments; Deprivation of Constitutional Rights and Privileges,
13
     Intentional Infliction of Emotional Distress (also under Color of Law), 42 U.S.C. § 1983, §1985;
14
     Conspiracy to Deprive Persons of Equal Protections of the Law (also under Color of Law), by the
15

16   commission of Defamation, Negligence, Invasion of Privacy, Assault, Harassment, willful,

17   malicious, and retaliatory actions against me for naming him in a federal lawsuit in August 2016; by
18
     publicly, while intending to injure, came out of his vehicle and yelled: "clean up my fucking
19
     sidewalk or I'm going to call you in," while waving a cell phone. This behavior caused me to
20
     reasonably expect impending harm and significant injury.
21

22
            69.     On or about May 20th, 2018 at about 12:44 a.m. at 357 Daniel Drive, North
23
     Tonawanda, New York, 14120, when defendant North Tonawanda Police Detective Larry Kuebler,
24

25   Jr. unlawfully entered my curtilage and homestall to commit unlawful acts in violation of the 4th, 9th ,

26   and 14th Constitutional Amendments; Deprivation of Constitutional Rights and Privileges,
27
     Intentional Infliction of Emotional Distress (also under Color of Law), 42 U.S.C. § 1983, §1985;
28
                                                        18

                                                   COMPLAINT
      Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 19 of 42




 1   Conspiracy to Deprive Persons of Equal Protections of the Law (also under Color of Law), by the

 2   commission of Defamation, Negligence, Invasion of Privacy, Assault, Harassment,, willful,
 3
     malicious, and retaliatory actions against me for naming him in a federal lawsuit in August 2016; by
 4
     publicly, while intending to injure, came to within 10 feet of where I was seated on my porch, and
 5
     threw his shoulders forward at me with an unidentified weapon in his hand, while stomping his foot
 6

 7   before laughing, saying "coward" and walking away.

 8

             70.    The aforesaid injuries for which claim is hereby made arose in the following manner:
 9

10   In the instances as described heretofore, the claimant, John W. Karcz, Jr., suffered Intentional

11   Infliction of Emotional Distress, Mental Anguish Psychological and Physical Injuries, due to the
12
     herein described outrageous and unlawful conduct, actions, inactions, and abuses of the defendants.
13
     By reasons of the foregoing, the claimant has been damaged and demands remuneration, monetary
14
     compensation, and judgment against the respondents/defendants herein, The City of North
15

16   Tonawanda, New York, The City of North Tonawanda Police Department, North Tonawanda Police

17   Detective Larry Kuebler, Jr., North Tonawanda Police Officer Greg Benjamin, North Tonawanda
18
     Police Officer Chris Mamot, North Tonawanda Police Officer Jeffrey Swick, North Tonawanda
19
     Police Officer Frank Burkhart, and North Tonawanda Police Lieutenant Nick Iwanicki.
20

21
             71.    After 7 recusals, the matter finally was heard in Lockport City Court, and The validity
22
     of the arrest was argued, Pro Se.
23

24
             72.    Your Plaintiff proved that while probable cause for arrest is not dependent on whether
25
     the suspect actually committed any crime, and "the mere fact that the suspect is later acquitted of the
26

27
     offense for which he is arrested is irrelevant." Id. at 36, 99 S.Ct. 262 7., But instead as precedential

28
                                                         19

                                                   COMPLAINT
      Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 20 of 42




 1   decisions show us, what matters is whether, looking at the totality of the circumstances at the time of

 2   the arrest, "the objective facts available to the officers ... were sufficient to justify a reasonable belief
 3
     that an offense was being committed." United States v. Glasser, 750F.2d1197, 1206 (3d Cir. 1984)
 4
     (citing Beckv. Ohio, 379 US 89, 96, 85 S.Ct. 223, 13 L.Ed.2d 142 (1964)). The Court decided it
 5
     was obvious that the officers involved only arrested your deponent in January 2017 as a favor to
 6

 7   Kuebler.

 8
                73.   On or about January 29, 2019, the allegation of Criminal Contempt in the 1st
 9

10   Degree was terminated in the Plaintiff's favor.

11

12
                74.   On or about February 4 th , 2019, at various locations in North Tonawanda, Buffalo, and

13   Lockport, New York, when defendant Brian P. McNamara under the supervision of John J. Flynn,

14   and with the assistance ofN.T.P.D. Officer Thomas Krantz, under employment to the City of North
15
     Tonawanda, began a vindictive and patently malicious prosecution campaign against this Plaintiff.
16

17
                75.   Krantz and McNamara caused an intentionally spurious complaint to be produced
18
     under not only unlawful, but bizarre circumstances, where it was rejected as deficient in indicia of
19
     Probable Cause by the North Tonawanda City Court, which is entitled to consider such cause as a
20

21
     strict exercise in administrative duties, but was then signed in the judge's space by Krantz.

22
                76.   Krantz evidently had appointed himself Judge, Prosecutor, and some sort of Policema
23

24   for the day at McNamara's request and in implicit unlawful conspiracy and knowledge therewith and

25   thereof.
26

27

28
                                                         20

                                                    COMPLAINT
      Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 21 of 42




 1           77.    McNamara then knowingly approached the Niagara County Court with the fraudulent

 2   complaint bearing several different and intentionally mystifying CR numbers and vindictively had
 3
     charges filed in Lockport City Court once more over the same events dismissed on January 29, 2019.
 4

 5                  When McNamara was notified that I had hired the services of Attorney Steven Cohen,
             78.
 6
     he immediately capitulated and asked the court to dismiss the charges he brought and admitted that
 7
     no one on the prosecution team had ever possessed a copy of the alleged temporary order of
 8
     protection I had supposedly violated, and could not produce one for the court.
 9

10
             79.    Thus, McNamara admitted that since early May 2018, this Plaintiff had been falsely
11

12   arrested and held in jeopardy without any probable cause whatsoever than the perjury of Kuebler,

13   Krantz, and himself.

14

15          80.     The very act of compelling my court attendance, requiring the travel of over 500 miles

16   and 2 days lost wages, is in and of itself an ineffable violation of my 4th and 14th amendments
17
     protections against illegal search and seizure, no matter how brief, and had both McNamara and
18
     Kruntz not committed fraud against the courts to cause a vindictive search and seizure any
19
     reasonable and trained individual in their position would realize is unlawful, the Plaintiff herein
20

21   would not have been damaged by not only the false arrest and illegal search and seizure, but

22   Defamation, Negligence, Invasion of Privacy, Assault, Harassment, willful, malicious, and

23   retaliatory actions against me, which caused me to reasonably be placed in fear of impending harm.
24

25          81.    On or about May 7, 2019, the third false arrest, falsely and fraudulently alleging
26
     Criminal Contempt in the 2 nd Degree was terminated in the Plaintiff's favor.
27

28
                                                        21

                                                  COMPLAINT
      Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 22 of 42




 1                                             CAUSES OF ACTION

 2                                   FIRST CLAIM: EXCESSIVE FORCE
 3
       DEPRIVATION OF RIGHTS UNDER THE FOURTH AND FOURTEENTH AMENDMENTS
 4                              AND 42 U.S.C. §1983
 5
     82.    Plaintiff re-alleges and incorporates by reference the allegations set forth in each preceding
 6
     paragraph as if fully set forth herein.
 7

 s   83.    The conduct and actions of Defendants North Tonawanda Police Officer North Tonawanda

 9   Police Officer Frank Burkhart and North Tonawanda Police Lieutenant Nick IWANICK! acting in
10
     concert and under color of law, in authorizing, directing and/or causing physical injury by North
11
     Tonawanda Police Officer Frank Burkhart, on May 2018, wrenching his right shoulder, arm, and
12
     back; causing pain, stiffness, bruising, neural injuries to John W. Karcz, was excessive and
13

14   unreasonable, was done intentionally, willfully, maliciously, with a deliberate indifference and/or

15   with a reckless disregard for the natural and probable consequences of their acts, was done without
16
     lawful justification or reason, and was designed to and did cause specific and serious physical and
17
     emotional pain and suffering in violation of Plaintiffs rights as guaranteed under 42 U.S.C.§1983,
18
     and the Fourth and Fourteenth Amendments to the United States Constitution, including the right to
19

20   be free from an unreasonable seizure of his person and the right to be free from the use of excessive,

21   unreasonable, and unjustified force, and was carried out at the request of, and in conspiracy with
22
     other law enforcement officers for retaliatory reasons.
23

24   84.    As a direct and proximate result of the foregoing, Plaintiff was subjected to great physical and
25
     emotional pain and humiliation, was deprived of his liberty, and was otherwise damaged and injured.
26

27

28
                                                       22

                                                  COMPLAINT
      Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 23 of 42




 1                            SECOND CLAIM: DENIAL OF MEDICAL CARE
 2
            DEPRIVATION OF RIGHTS UNDER THE FOURTEENTH AMENDMENT AND 42 U.S.C.
 3                                         §1983
 4
     85 .     Plaintiff re-alleges and incorporates by reference the allegations set forth in each preceding
 5
     paragraph as if fully set forth herein.
 6

 7
     86.      Members of the NTPD have an affirmative duty to seek medical attention persons who are

 8   injured in the course of being apprehended by the police.Defendants North Tonawanda Police

 9
     Officer North Tonawanda Police Officer Chris Mamot, North Tonawanda Police Officer Jeffrey
10
     Swick, North Tonawanda Police Officer Frank Burkhart, North Tonawanda Police Lieutenant Nick
11
     Iwanicki, were in the immediate vicinity of Mr. Karcz when his left and right arms, face, right
12

13   shoulder, and upper back were injured by North Tonawanda Police Officer Frank Burkhart,

14   wrenching his right shoulder, arm, and back. Defendants North Tonawanda Police Officer Chris
15
     Mamot, North Tonawanda Police Officer Jeffrey Swick, North Tonawanda Police Officer Frank
16
     Burkhart, and North Tonawanda Police Lieutenant Nick Iwanicki, were aware that Mr. Karcz had
17

18
     been hit by injured by their actions, and were aware that Mr. Karcz was experiencing extreme

19   physical pain as a result of North Tonawanda Police Officer Frank Burkhart's use of excessive and
20
     unnecessary force, but took no action to provide or request medical care for Mr. Karcz, disregarding
21
     the obvious risk to Plaintiffs health.
22
     87.      The conduct and actions of Defendants North Tonawanda Police Officer Chris Mamot, North
23

24   Tonawanda Police Officer Jeffrey Swick, North Tonawanda Police Officer Frank Burkhart, and

25   North Tonawanda Police Lieutenant Nick Iwanicki, acting under color of law, in failing to request or
26
     obtain medical attention for John W. Karcz, was unreasonable, was done intentionally, willfully,
27

28
                                                         23

                                                    COMPLAINT
      Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 24 of 42




 1   maliciously, with a deliberate indifference and/or with a reckless disregard for Plaintiffs serious

 2   medical needs, and was designed to and did cause specific and serious physical and emotional pain
 3
     and suffering in violation of Plaintiffs substantive due process rights as guaranteed under 42 U.S.C.
 4
     §1983, and the Fourteenth Amendment to the United States Constitution.
 5

 6   88.    As a direct and proximate result of the foregoing, Plaintiff was subjected to great physical and

 7   emotional pain and suffering and was otherwise damaged and injured.
 8

 9
                THIRD CLAIM: DEPRIVATION OF FREE SPEECH AND EXPRESSION
10

11    DEPRIVATION OF RIGHTS UNDER THE FIRST AND FOURTEENTH AMENDMENTS AND
                                   42 U.S.C. §1983
12

13   89.    Plaintiff re-alleges and incorporates by reference the allegations set forth in each preceding

14   paragraph as if fully set forth herein.
15
     90.    The above described conduct and actions of the individual defendants, The City of North
16
     Tonawanda, New York, The City of North Tonawanda Police Department, The County of Erie, New
17
     York, The Erie County District Attorney's Office, North Tonawanda Police Detective Larry
18

19   Kuebler, Jr., North Tonawanda Police Officer Greg Benjamin, North Tonawanda Police Officer Lee

20   Bolslover, North Tonawanda Police Officer Thomas Krantz, North Tonawanda Police Officer Chris
21
     Mamot, North Tonawanda Police Officer Jeffrey Swick, North Tonawanda Police Officer Frank
22
     Burkhart, North Tonawanda Police Lieutenant Nick Iwanicki, Erie County District Attorney John J.
23

24
     Flynn, Erie County Assistant District Attorney Brian P. McNamara acting under color oflaw,

25   deprived Plaintiff of his rights to free expression and association, was done due to Defendants'

26   personal animus and bias against the content of Plaintiff s speech, and in retaliation against Plaintiff
27

28
                                                        24

                                                  COMPLAINT
      Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 25 of 42




 1   s exercise of his constitutionally protected speech; was done to interfere with, and chill, the exercise

 2   of free speech and association, and was done intentionally, maliciously, with a deliberate
 3
     indifference and/or with a reckless disregard for the natural and probable consequences of their acts,
 4
     was done without lawful justification or reason, and was designed to and did cause specific and
 5

 6
     serious pain and suffering in violation of Plaintiffs constitutional rights as guaranteed under 42

 7   U.S.C. 1983, and the First and Fourteenth Amendments to the United States Constitution.

 8
     91.    As a result of the foregoing, Plaintiff suffered the injuries and damages set forth above.
 9
                                FOURTH CLAIM: MUNICIPAL LIABILITY
10                               FOR CONSTITUTIONAL VIOLATIONS
11
           MONELL CLAIM AGAINST THE CITY OF NORTH TONA WANDA - 42 U.S.C. §1983
12
     92.    Plaintiff re-alleges and incorporates by reference the allegations set forth in each preceding
13

14   paragraph as if fully set forth herein.

15
     93.    The CITY OF NORTH TONAWANDA directly caused the constitutional violations suffered
16
     by Plaintiff and is liable for the damages suffered by Plaintiff as a result of the conduct of the
17
     defendant officers. The conduct of the defendant officers was a direct consequence of policies and
18

19   practices of Defendant CITY OF NORTH TONAWANDA.

20   94.    At all times relevant to this complaint Defendant CITY OF NORTH TONAWANDA, acting
21
     through the NTPD, had in effect policies, practices, and customs that condoned and fostered the
22
     unconstitutional conduct of the individual defendants, and were a direct and proximate cause of the
23

24
     damages and injuries complained of herein.

25

26

27

28
                                                        25

                                                   COMPLAINT
      Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 26 of 42




 1   95 .   The false arrests described herein were part of four similar such false arrests in a two-year

 2
     period of the Plaintiff Mr. Karcz. All of those false arrests led to dismissal of charges in the
 3
     Plaintiffs favor.
 4

 5   96.    The events of described heretofore were part of an ongoing conspiracy to chill the Plaintiff

 6   and other similarly situated individuals' constitutionally protected expression of free speech and
 7
     other protected expression.
 8
     97.    At all times relevant to this complaint, Defendant CITY OF NORTH TONAWANDA, acting
 9

10   through its police department, and through the individual defendants, had policies, practices,

11
     customs, and usages of encouraging and/or tacitly sanctioning the violation of and/or retaliation for
12
     individuals' exercise of free expression and assembly. Upon information and belief, Defendant CITY
13
     OF NORTH TONA WANDA planned and implemented a policy, practice, custom and usage of
14

15   controlling free speech, that was designed to and did preempt lawful activities by illegally detaining

16   persons engaged in protected First Amendment activity, using excessive force against persons
17
     engaged in protected First Amendment activity, retaliating against witnesses to police misconduct,
18
     and discouraging police officers from reporting the misconduct of other officers. In at least four
19

20   other instances involving Mr. Karcz, and many others similarly situated, The CITY OF NORTH

21
     TONAWANDA consciously disregarded the illegality and unconstitutionality of said detentions, use
22
     of force, and retaliation in order to punish and suppress peaceful expression and association with his
23
     previously filed litigation against them. These policies, practices, customs, and usages were a direct
24

25   and proximate cause of the unconstitutional conduct alleged herein.

26

27

28
                                                        26

                                                   COMPLAINT
      Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 27 of 42




 1   98.    The existence of these unconstitutional customs and policies, specifically as it relates to free

 2
     speech, is evidenced by the countless repeated occurrences of similar wrongful conduct documented
 3
     by the 4 false arrests of Mr. Karcz leading to summary dismissals in local court since 2017.
 4
     99.    The existence of these unconstitutional customs and policies, specifically as it relates to free
 5

 6   speech, is evidenced by the countless repeated occurrences of similar wrongful conduct documented

 7
     at in the City over the past year, most recently the illegal search and seizure at North Tonawanda
 8
     City Hall on June 25 th , 2019 oflegless war hero Staff Seargent Timothy A. Payne who came to City
 9
     Hall to engage in a discussion with the mayor. A conversation which involved the staff sergeant's
10

11   free speech which the mayor was quoted as saying was "alarming," leading NTPD officers to

12
     VIOLENTLY take the wheelchair-bound veteran into physical custody. OVER MERE WORDS!
13
     100.   The existence of these unconstitutional customs and policies, specifically as it relates to
14
     NTPD violence towards citizens, is evidenced by the countless repeated occurrences of similar
15

16   wrongful conduct documented by the 4 false arrests of Mr. Karcz leading to summary dismissals in

17
     local court since 2017, as well as numerous other civil rights cases filed in this Court against the
18
     CITY OF NORTH TONA WANDA over the past several years.
19

20   101.   The CITY OF NORTH TONAWANDA knew or should have known of the defendant

21   officers' propensity to engage in misconduct of the type alleged herein. Upon information and belief,
22
     prior to May 19, 2019, the CITY OF NORTH TONAWANDA was aware of several complaints of
23
     police misconduct involving the use of excessive force and retaliatory use of force against citizens
24

25   engaged in free speech by members of the NTPD. Despite its knowledge of such incidents of prior

26   misconduct, the CITY OF NORTH TONA WANDA failed to take remedial action.
27

28
                                                       27

                                                  COMPLAINT
          Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 28 of 42




     1   102.   It was the policy and/or custom of the CITY OF NORTH TONAWANDA to inadequately

 2
         and improperly investigate citizen complaints of police officer misconduct, and acts of misconduct
 3
         were instead tolerated by the CITY OF NORTH TONAWANDA, including, but not limited to, the
 4
         incidents listed above.
 5

 6       103.   It was the policy and/or custom of the CITY OF NORTH TONA WANDA to inadequately

 7
         train, supervise and discipline its police and peace officers, including the defendant officers, thereby
 8
         failing to adequately discourage further constitutional violations on the part of its police officers. The
 9
         CITY OF NORTH TONAWANDA did not require appropriate in-service training or re-training of
10

11       officers who were known to have engaged in misconduct, according to Gary P. Lewis, NTPD Senior

12
         Clerk, and Captain Karen M. Smith, who both confirmed that the CITY OF NORTH
13
         TONAWANDA Police Department has no internal affairs or disciplinary division. Both stated that
14
         Defendant North Tonawanda Chief of Police Roger ZGOLAK, ""likes to handle these types of
15

16       complaints "personally.""

17
         104.   As newly appointed Chief, Tom KRANTZ has shown no willingness to improve these
18
         unlawful and woefully inadequate policies, and is hereby sued for same.
19

20
         105.   As a result of the above described policies and customs, police officers of the CITY OF

21       NORTH TONAWANDA, including the defendant officers, believed that their actions would not be
22
         properly monitored by supervisory officers and that misconduct would not be investigated or
23
         sanctioned, but would be tolerated.
24

25
         106.   The wrongful policies, practices, customs and/or usages complained of herein, demonstrated a

26       deliberate indifference on the part of policymakers of the CITY OF NORTH TONAWANDA to the
27

28
                                                            28

                                                      COMPLAINT
      Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 29 of 42




 1   constitutional rights of persons within the city, and were the direct and proximate cause of the

 2   violations of Plaintiffs' rights alleged herein.
 3

 4
                                   FIFTH CLAIM: ASSAULT AND BATTERY
 5

 6                                        COMMON LAW CLAIM

 7
     107.   Plaintiff re-alleges and incorporates by reference the allegations set forth in each preceding
 8
     paragraph as if fully set forth herein.
 9
     108.   By the conduct and actions described above, North Tonawanda Police Detective Larry
10

11   Kuebler, Jr., North Tonawanda Police Officer Greg Benjamin, North Tonawanda Police Officer Lee

12
     Bolslover, North Tonawanda Police Officer Thomas Krantz, North Tonawanda Police Officer Chris
13
     Mamot, North Tonawanda Police Officer Jeffrey Swick, North Tonawanda Police Officer Frank
14
     Burkhart, North Tonawanda Police Lieutenant Nick Iwanicki, inflicted the torts of assault and
15

16   battery upon Plaintiff. The acts and conduct of Defendants North Tonawanda Police Detective Larry

17
     Kuebler, Jr., North Tonawanda Police Officer Greg Benjamin, North Tonawanda Police Officer Lee
18
     Bolslover, North Tonawanda Police Officer Thomas Krantz, North Tonawanda Police Officer Chris
19
     Mamot, North Tonawanda Police Officer Jeffrey Swick, North Tonawanda Police Officer Frank
20

21   Burkhart, North Tonawanda Police Lieutenant Nick Iwanicki, were the direct and proximate cause o

22
     injury and damage to Plaintiff and violated Plaintiffs statutory and common law rights as guaranteed
23
     by the laws and Constitution of the State of New York.
24

25
     109.   Defendants OTABACHIAN AND LONCAR 's acts constituted an assault upon Plaintiff in

26   that BURKHART intentionally attempted to injure Plaintiff or commit a battery upon him, and
27
     further that North Tonawanda Police Detective Larry Kuebler, Jr., North Tonawanda Police Officer
28
                                                        29

                                                    COMPLAINT
      Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 30 of 42




 1   Greg Benjamin, North Tonawanda Police Officer Lee Bolslover, North Tonawanda Police Officer

 2   Thomas Krantz, North Tonawanda Police Officer Chris Mamot, North Tonawanda Police Officer
 3
     Jeffrey Swick, North Tonawanda Police Officer Frank Burkhart, North Tonawanda Police Lieutenan
 4
     Nick Iwanicki, 's acts represented a grievous affront to Plaintiff.
 5

 6   110.   Defendants BURKHART 's acts constituted a battery upon Plaintiff in that the above

 7
     described bodily contact was intentional, unauthorized, and grossly offensive in nature.
 8
     111.   The actions of Defendants North Tonawanda Police Detective Larry Kuebler, Jr., North
 9

     Tonawanda Police Officer Greg Benjamin, North Tonawanda Police Officer Lee Bolslover, North
10

11   Tonawanda Police Officer Thomas Krantz, North Tonawanda Police Officer Chris Mamot, North
12
     Tonawanda Police Officer Jeffrey Swick, North Tonawanda Police Officer Frank Burkhart, North
13
     Tonawanda Police Lieutenant Nick Iwanicki, were intentional, reckless, and unwarranted, and
14

15
     without any just cause or provocation, and these Defendants knew, or should have known, that their

16   actions were without the consent of Plaintiff.
17
     112.   The injuries sustained by Plaintiff were caused wholly and solely by reason of the conduct
18
     described, and Plaintiff did not contribute thereto.
19
     113.   As a direct and proximate result of the foregoing, Plaintiff was subjected to great physical
20

21   and emotional pain and humiliation, was deprived of his liberty, and was otherwise damaged and
22
     injured.
23

24                     SIXTH CLAIM: FALSE ARREST AND IMPRISONMENT
25
                                          _COMMON LAW CLAIM
26

27

28
                                                        30

                                                   COMPLAINT
      Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 31 of 42




 1   114.    Plaintiff re-alleges and incorporates by reference the allegations set forth in each preceding

 2
     paragraph as if fully set forth herein.
 3
     115.    By their actions, and while purporting to act according to the law, without any probable cause
 4
     or reasonable basis to do so, Defendants specifically described above committed the tort of false
 5

 6   arrest at around on or about January 26, 2017, May 12, 2018, and May 7, 2019, by detaining and

 7
     intentionally restraining the Plaintiffs freedom of movement without his consent.
 8
     116.    While intentionally restraining the Plaintiffs freedom of movement without his consent
 9

     Defendants BURKHART, SWICK, BENJAMIN, AND BOLSLOVER took the Plaintiff by force to
10

11   the Police Department station located in North Tonawanda City Hall where their commanding

12
     officer, Defendant IWANICKI without probable cause or any reasonable basis to do so and without
13
     the Plaintiffs consent, joined them to continue the false arrest and also the false imprisonment of
14
     the Plaintiff.
15

16   117.    Defendants BURKHART, SWICK, BENJAMIN, AND BOLSLOVER intentionally confined
17
     Plaintiff in a vehicle and in the jail at North Tonawanda City Hall without consent.
18
     118.   Defendants BURKHART, SWICK, BENJAMIN, AND BOLSLOVER and IWANICKI knew
19
     or should have known, that they had no lawful authority to detain or arrest Plaintiff as the acts
20

21   complained of constituted no crime.

22   119.   Defendants BURKHART, SWICK, BENJAMIN, AND BOLSLOVER and IWANICKI
23
     confined Plaintiff unlawfully in the North Tonawanda City Jail located in City Hall.
24
     120.   Defendants BURKHART, SWICK, BENJAMIN, AND BOLSLOVER and IWANICKl's
25

26   conduct constituted both false arrest and false imprisonment of Plaintiff.

27

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                                                        31

                                                  COMPLAINT
      Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 32 of 42




 1   121.    By the conduct and actions described above, Defendants BURKHART, SWICK,

 2
     BENJAMIN, AND BOLSLOVER and IWANICKI inflicted the tort of false imprisonment upon
 3
     Plaintiff. The acts and conduct of Defendants BURKHART, SWICK, BENJAMIN, AND
 4
     BOLSLOVER and IWANICKI were the direct and proximate cause of injury and damage to
 5

 6   Plaintiff and violated Plaintiffs statutory and common law rights as guaranteed by the laws and

 7
     Constitution of the State of New York.
 8
     122.   Defendants BURKHART, SWICK, BENJAMIN, AND BOLSLOVER and IWANICKI 's acts
 9
     constituted a false imprisonment upon Plaintiff in that BURKHART, SWICK, BENJAMIN, AND
10

11   BOLSLOVER and IWANICK! confined Plaintiff against his will, without his consent, and without

12
     lawful privilege.
13
     123.   Defendants BURKHART, SWICK, BENJAMIN, AND BOLSLOVER and IWANICKI 's
14
     acts constituted a false imprisonment upon Plaintiff in that the above described actions were
15

16   intentional, unauthorized, and secured by force, threat of bodily harm, and assertion of arrest under

17   colorable legal authority.
18
     124.   The actions of Defendants BURKHART, SWICK, BENJAMIN, AND BOLSLOVER and
19

20
     IWANICKI were intentional, reckless, and unwarranted, and without any just cause or provocation,

21   and Defendants BURKHART, SWICK, BENJAMIN, AND BOLSLOVER and IWANICKI knew,
22
     or should have known, that their actions were without the consent of Plaintiff or privilege of law.
23
     125.   The injuries sustained by Plaintiff were caused wholly and solely by reason of the conduct
24
     described, and Plaintiff did not contribute thereto.
25

26

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                                                        32

                                                   COMPLAINT
      Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 33 of 42




 1   126.    As a direct and proximate result of the foregoing, Plaintiff was subjected to great physical

 2
     and emotional pain and humiliation, was deprived of his liberty, and was otherwise damaged and
 3
     injured.
 4

 5
            SEVENTH CLAIM: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
 6
                                           COMMON LAW CLAIM
 7
     127.    Plaintiff re-alleges and incorporates by reference the allegations set forth in each preceding
 8

 g   paragraph as if fully set forth herein.

10   128.    Defendants The City of North Tonawanda, New York, The City of North Tonawanda Police
11
     Department, The County of Erie, New York, The Erie County District Attorney's Office, North
12
     Tonawanda Police Detective Larry Kuebler, Jr., North Tonawanda Police Officer Greg Benjamin,
13

14   North Tonawanda Police Officer Lee Bolslover, North Tonawanda Police Officer Thomas Krantz,

15   North Tonawanda Police Officer Chris Mamot, North Tonawanda Police Officer Jeffrey Swick,
16
     North Tonawanda Police Officer Frank Burkhart, North Tonawanda Police Lieutenant Nick
17
     Iwanicki, Erie County District Attorney John J. Flynn, Erie County Assistant District Attorney Brian
18

19   P. McNamara's conduct, as described herein, without provocation or justification, was extreme,

20   outrageous, and utterly intolerable in a civilized community; conduct which exceeded all reasonable
21
     bounds of decency.
22

23
     129.    Defendants The City of North Tonawanda, New York, The City of North Tonawanda Police

24   Department, The County of Erie, New York, The Erie County District Attorney's Office, North
25
     Tonawanda Police Detective Larry Kuebler, Jr., North Tonawanda Police Officer Greg Benjamin,
26
     North Tonawanda Police Officer Lee Bolslover, North Tonawanda Police Officer Thomas Krantz,
27

28
                                                        33

                                                   COMPLAINT
      Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 34 of 42




 1   North Tonawanda Police Officer Chris Mamot, North Tonawanda Police Officer Jeffrey Swick,

 2   North Tonawanda Police Officer Frank Burkhart, North Tonawanda Police Lieutenant Nick
 3
     Iwanicki, Erie County District Attorney John J. Flynn, Erie County Assistant District Attorney Brian
 4
     P. McNamara's conduct, described above, was intended to and did cause severe emotional distress to
 5

 6   Plaintiff.

 7
     130.    The conduct of Defendants The City of North Tonawanda, New York, The City of North
 8
     Tonawanda Police Department, The County of Erie, New York, The Erie County District Attorney's
 9

     Office, North Tonawanda Police Detective Larry Kuebler, Jr., North Tonawanda Police Officer
10

11   Greg Benjamin, North Tonawanda Police Officer Lee Bolslover, North Tonawanda Police Officer
12
     Thomas Krantz, North Tonawanda Police Officer Chris Mamot, North Tonawanda Police Officer
13
     Jeffrey Swick, North Tonawanda Police Officer Frank Burkhart, North Tonawanda Police
14

15
     Lieutenant Nick Iwanicki, Erie County District Attorney John J. Flynn, Erie County Assistant

16   District Attorney Brian P. McNamara was the direct and proximate cause of injury and damage to
17
     Plaintiff and violated his statutory and common law rights as guaranteed by the laws and
18
     Constitution of the State of New York.
19

20   131.   As a result of the foregoing, Plaintiff was deprived of his liberty, was subjected to serious

21   physical and emotional pain and suffering and was otherwise damaged and injured.
22

23           EIGHTH CLAIM: NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
24
                                               COMMON LAW CLAIM
25
     132.   Plaintiff re-alleges and incorporates by reference the allegations set forth in each preceding
26

27   paragraph as if fully set forth herein.

28
                                                       34

                                                   COMPLAINT
      Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 35 of 42




 1   133.   Defendants The City of North Tonawanda, New York, The City of North Tonawanda Police

 2
     Department, The County of Erie, New York, The Erie County District Attorney's Office, North
 3
     Tonawanda Police Detective Larry Kuebler, Jr., North Tonawanda Police Officer Greg Benjamin,
 4
     North Tonawanda Police Officer Lee Bolslover, North Tonawanda Police Officer Thomas Krantz,
 5

 6   North Tonawanda Police Officer Chris Mamot, North Tonawanda Police Officer Jeffrey Swick,
 7
     North Tonawanda Police Officer Frank Burkhart, North Tonawanda Police Lieutenant Nick
 8
     Iwanicki, Erie County District Attorney John J. Flynn, Erie County Assistant District Attorney Brian
 9

10   P. McNamara conduct, in causing assault and battery of the Plaintiff, was careless and negligent as

11   to the emotional health of Plaintiff and caused severe emotional distress to Plaintiff.
12
     134.   The acts and conduct of Defendant The City of North Tonawanda, New York, The City          Oi
13
     North Tonawanda Police Department, The County of Erie, New York, The Erie County District
14

15   Attorney's Office, North Tonawanda Police Detective Larry Kuebler, Jr. , North Tonawanda Police

16   Officer Greg Benjamin, North Tonawanda Police Officer Lee Bolslover, North Tonawanda Police
17
     Officer Thomas Krantz, North Tonawanda Police Officer Chris Mamot, North Tonawanda Police
18
     Officer Jeffrey Swick, North Tonawanda Police Officer Frank Burkhart, North Tonawanda Police
19

20   Lieutenant Nick Iwanicki, Erie County District Attorney John J. Flynn, Erie County Assistant

21   District Attorney Brian P. McNamara was the direct and proximate cause of injury and damage to
22
     Plaintiff and violated his statutory an common law rights as guaranteed by the laws and Constitution
23
     of the State of New York.
24

25   135.   As a result of the foregoing, Plaintiff was deprived of his liberty, was subjected to serious

26
     physical and emotional pain and suffering and was otherwise damaged and injured.
27

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                                                       35

                                                  COMPLAINT
      Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 36 of 42




 1                                     NINTH CLAIM: NEGLIGENCE
 2
                                           COMMON LAW CLAIMS
 3
     136.   Plaintiff re-alleges and incorporates by reference the allegations set forth in each preceding
 4

 5   paragraph as if fully set forth herein.

 6   137.   Defendants North Tonawanda Police Officer Greg Benjamin, North Tonawanda Police
 7
     Officer Lee Bolslover, North Tonawanda Police Officer Thomas Krantz, North Tonawanda Police
 8
     Officer Chris Mamot, North Tonawanda Police Officer Jeffrey Swick, North Tonawanda Police
 9

10   Officer Frank Burkhart, North Tonawanda Police Lieutenant Nick Iwanicki, while acting as agents

11   and employees for Defendant CITY OF NORTH TONAWANDA, in their capacity as a police
12
     officer for the CITY OF NORTH TONAWANDA, owed a duty to Plaintiff to perform their police
13
     duties without the use of excessive force. Defendants use of force upon Plaintiff, when Plaintiff was
14

15   unarmed and did not pose a threat of death or grievous bodily injury to Defendants or to others

16   constitutes negligence for which Defendants North Tonawanda Police Officer Greg Benjamin, North
17
     Tonawanda Police Officer Lee Bolslover, North Tonawanda Police Officer Thomas Krantz, North
18
     Tonawanda Police Officer Chris Mamot, North Tonawanda Police Officer Jeffrey Swick, North
19

20   Tonawanda Police Officer Frank Burkhart, North Tonawanda Police Lieutenant Nick Iwanicki are

21   individually liable.
22
     138.   Defendants North Tonawanda Police Officer Greg Benjamin, North Tonawanda Police
23
     Officer Lee Bolslover, North Tonawanda Police Officer Thomas Krantz, North Tonawanda Police
24

25   Officer Chris Mamot, North Tonawanda Police Officer Jeffrey Swick, North Tonawanda Police

26   Officer Frank Burkhart, North Tonawanda Police Lieutenant Nick Iwanickiuse of force upon
27
     Plaintiff when Defendants North Tonawanda Police Officer Greg Benjamin, North Tonawanda
28
                                                       36

                                                  COMPLAINT
      Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 37 of 42




 1   Police Officer Lee Bolslover, North Tonawanda Police Officer Thomas Krantz, North Tonawanda

 2   Police Officer Chris Mamot, North Tonawanda Police Officer Jeffrey Swick, North Tonawanda
 3
     Police Officer Frank Burkhart, North Tonawanda Police Lieutenant Nick lwanickihad no lawful
 4
     authority to arrest Plaintiff or to use force against Plaintiff constitutes negligence for which
 5

 6   Defendants North Tonawanda Police Officer Greg Benjamin, North Tonawanda Police Officer Lee

 7
     Bolslover, North Tonawanda Police Officer Thomas Krantz, North Tonawanda Police Officer Chris
 8
     Mamot, North Tonawanda Police Officer Jeffrey Swick, North Tonawanda Police Officer Frank
 9
     Burkhart, North Tonawanda Police Lieutenant Nick Iwanickiare individually liable.
10

11   139.   Defendants North Tonawanda Police Officer Greg Benjamin, North Tonawanda Police

12
     Officer Lee Bolslover, North Tonawanda Police Officer Thomas Krantz, North Tonawanda Police
13
     Officer Chris Mamot, North Tonawanda Police Officer Jeffrey Swick, North Tonawanda Police
14
     Officer Frank Burkhart, North Tonawanda Police Lieutenant Nick Iwanicki, while acting as agents
15

16   and employees for Defendant CITY OF NORTH TONAWANDA, in their capacity as a police

17
     officers for the CITY OF NORTH TONAWANDA, owed a duty to Plaintiff to perform their police
18
     duties without the use of false imprisonment. Defendants North Tonawanda Police Officer Greg
19
     Benjamin, North Tonawanda Police Officer Lee Bolslover, North Tonawanda Police Officer Thomas
20

21   Krantz, North Tonawanda Police Officer Chris Mamot, North Tonawanda Police Officer Jeffrey

22
     Swick, North Tonawanda Police Officer Frank Burkhart, North Tonawanda Police Lieutenant Nick
23
     Iwanicki 's use of false imprisonment upon Plaintiff, when Plaintiff was unarmed and did not commit
24
     a crime against Defendants North Tonawanda Police Officer Greg Benjamin, North Tonawanda
25

26   Police Officer Lee Bolslover, North Tonawanda Police Officer Thomas Krantz, North Tonawanda

27
     Police Officer Chris Mamot, North Tonawanda Police Officer Jeffrey Swick, North Tonawanda
28
                                                        37

                                                   COMPLAINT
      Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 38 of 42




 1   Police Officer Frank Burkhart, North Tonawanda Police Lieutenant Nick Iwanicki or to others

 2
     constitutes negligence for which Defendants The City of North Tonawanda, New York, The City of
 3
     North Tonawanda Police Department, The County of Erie, New York, The Erie County District
 4
     Attorney's Office, North Tonawanda Police Detective Larry Kuebler, Jr., North Tonawanda Police
 5

 6   Officer Greg Benjamin, North Tonawanda Police Officer Lee Bolslover, North Tonawanda Police

 7
     Officer Thomas Krantz, North Tonawanda Police Officer Chris Mamot, North Tonawanda Police
 8
     Officer Jeffrey Swick, North Tonawanda Police Officer Frank Burkhart, North Tonawanda Police
 9
     Lieutenant Nick Iwanicki, are individually liable.
10

11   140.   Defendants North Tonawanda Police Officer Greg Benjamin, North Tonawanda Police

12
     Officer Lee Bolslover, North Tonawanda Police Officer Thomas Krantz, North Tonawanda Police
13
     Officer Chris Mamot, North Tonawanda Police Officer Jeffrey Swick, North Tonawanda Police
14
     Officer Frank Burkhart, North Tonawanda Police Lieutenant Nick Iwanicki's use of force and the
15

16   threat of bodily harm to imprison Plaintiff when Defendants North Tonawanda Police Officer Greg

17
     Benjamin, North Tonawanda Police Officer Lee Bolslover, North Tonawanda Police Officer Thomas
18
     Krantz, North Tonawanda Police Officer Chris Mamot, North Tonawanda Police Officer Jeffrey
19

20
     Swick, North Tonawanda Police Officer Frank Burkhart, North Tonawanda Police Lieutenant Nick

21   Iwanicki had no lawful authority to arrest Plaintiff or to imprison Plaintiff constitutes negligence for

22
     which Defendants North Tonawanda Police Officer Greg Benjamin, North Tonawanda Police
23
     Officer Lee Bolslover, North Tonawanda Police Officer Thomas Krantz, North Tonawanda Police
24

25
     Officer Chris Mamet, North Tonawanda Police Officer Jeffrey Swick, North Tonawanda Police

26   Officer Frank Burkhart, North Tonawanda Police Lieutenant Nick Iwanickiare individually liable.
27

28
                                                        38

                                                  COMPLAINT
      Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 39 of 42




 1   141.   As a proximate result of Defendants North Tonawanda Police Officer Greg Benjamin, North

 2   Tonawanda Police Officer Lee Bolslover, North Tonawanda Police Officer Thomas Krantz, North
 3
     Tonawanda Police Officer Chris Mamot, North Tonawanda Police Officer Jeffrey Swick, North
 4
     Tonawanda Police Officer Frank Burkhart, North Tonawanda Police Lieutenant Nick Iwanicki's
 5

 6   negligent use of excessive force and false imprisonment, Plaintiff sustained physical and emotional

 7
     pain and suffering, and was otherwise damaged and injured.
 8
                        TENTH CLAIM: RESPONDEAT SUPERIOR LIABILITY
 9

10          OF THE CITY OF NORTH TONAWANDA FOR STATE LAW VIOLATIONS

11
                                           COMMON LAW CLAIM
12

13   142.   Plaintiff re-alleges and incorporates by reference the allegations set forth in each preceding

14   paragraph as if fully set forth herein.
15
     143.   The conduct of Defendants North Tonawanda Police Officer Greg Benjamin, North
16
     Tonawanda Police Officer Lee Bolslover, North Tonawanda Police Officer Thomas Krantz, North
17

18   Tonawanda Police Officer Chris Mamot, North Tonawanda Police Officer Jeffrey Swick, North

19   Tonawanda Police Officer Frank Burkhart, North Tonawanda Police Lieutenant Nick Iwanicki
20   alleged herein occurred while they were on duty and in uniform, in and during the course and scope
21
     of his duties and functions as a City of North Tonawanda police officer, and while they was acting
22
     as an agent, officer, servant and employee of Defendant CITY OF NORTH TONAWANDA. As a
23

24
     result, Defendant CITY OF NORTH TONAWANDA is liable to Plaintiff pursuant to the state

25   common law doctrine of respondeat superior.

26

27   144.

28
                                                      39

                                                 COMPLAINT
      Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 40 of 42




 1          ELEVENTH CLAIM: NEGLIGENT SUPERVISION RETENTION AND TRAINING

 2                                             COMMON LAW CLAIM
 3
     145.   Plaintiff re-alleges and incorporates by reference the allegations set forth in each preceding
 4
     paragraph as if fully set forth herein.
 5

 6   146.   Defendant CITY OF NORTH TONAWANDA negligently trained, retained, and supervised

 7
     Defendants North Tonawanda Police Officer Greg Benjamin, North Tonawanda Police Officer Lee
 8
     Bolslover, North Tonawanda Police Officer Thomas Krantz, North Tonawanda Police Officer Chris
 9
     Mamot, North Tonawanda Police Officer Jeffrey Swick, North Tonawanda Police Officer Frank
10

11   Burkhart, North Tonawanda Police Lieutenant Nick Iwanicki. The acts and conduct of Defendant

12   North Tonawanda Police Officer Greg Benjamin, North Tonawanda Police Officer Lee Bolslover,
13
     North Tonawanda Police Officer Thomas Krantz, North Tonawanda Police Officer Chris Mamot,
14
     North Tonawanda Police Officer Jeffrey Swick, North Tonawanda Police Officer Frank Burkhart,
15

16   North Tonawanda Police Lieutenant Nick Iwanickiwere the direct and proximate cause of injury and

17   damage to Plaintiff and violated his statutory and common law rights as guaranteed by the laws and
18
     Constitution of the State of New York.
19
     147.   As a result of the foregoing, Plaintiff was deprived of his liberty, was subjected to great
20

21   physical and emotional pain and suffering and was otherwise damaged and injured.

22

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                                                  COMPLAINT
     Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 41 of 42




 1        WHEREFORE, Plaintiff demands the following relief jointly and severally against all of

 2        the Defendants in both their official and private capacities:
 3
                 a.        Compensatory damages in the amount of $250,000.00;
 4
                 b.        Punitive damages in the amount of 750,000.00;
 5

 6               C.        The convening and empaneling of a jury to consider the merits of the claims
                 herein;
 7

 8               d.        Costs and interest and attorney's fees;

 9               e.        Such other and further relief as this Court may deem just and proper.
10

11   Dated: North Tonawanda, New York
            August 6, 2020
12

13

14
                                                             OI . W.KARCZ
15
                                                            357 DANIEL DRIVE
16                                                          NORTH TONAWANDA,
                                                            NEW YORK, 14120
17

18

19

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21

22

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                                                       41

                                                  COMPLAINT
                               Case 1:20-cv-01045-LJV-HKS Document 1 Filed 08/07/20 Page 42 of 42
    <ii>.JS 44 (Rev. 12/07)                                                       CIVIL COVER SHEET
    The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provid
    by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiati1
    the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

    I. (a) PLAINTIFFS                                                                                                DEFENDANTS
JOHNW KARCZ                                                                                                           CITY OF NORTH TONAWANDA AND ERIE COUNTY


       (b)                                                                NIAGARA                                                                                                  _N_I_A_G
                                                                                                                                                                                          _A
                                                                                                                                                                                           _ R_A____ ___
              County of Residence of First Listed Plaintiff
                                    (EXCEPT IN U.S. PLAINTIFF CASES)
                                                                          ------------                               County of Residence of First Listed Defendant
                                                                                                                                                     (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                             NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                                         LAND INVOLVED.

       ( C)   Attorney's (Finn Name, Address, and Telephone Number)                                                   Attorneys (If Known)
                                                                                                                    TED GRANEY, KEN KIRBY


 II. BASIS OF JURISDICTION                                  (Place an "X" in One Box Only)              Ill. CITIZENSHIP OF PRINCIPAL P ARTIES(Place an "X" in One Box for Plainti
                                                                                                                  (For Diversity Cases Only)                                          and One Box for Defendant)
 D I      U.S. Government                    11!1 3 Federal Question                                                                       PTF         DEF                                           PTF      DEF


                                                                                                                                                       "'
             Plaintiff                                (U.S. Government Not a Party)                          Citizen of This State         ~                     Incorporated or Principal Place      O 4     D 4
                                                                                                                                                                 of Business In This State

 0 2      U.S. Government                    D 4     Diversity                                               Citizen of Another State          0 2     D     2   Incorporated and Principal Place      0   5    D 5
             Defendant                                                                                                                                              of Business In Another State
                                                       (Indicate Citizenship of Parties in Item Ill)
                                                                                                             Citizen or Subject of a           0 3     D     3   Foreign Nation                        D 6      D 6
                                                                                                               Forei l!n Countrv
 IV NATURE OF SUIT                           (Place an "X" in One Box Onlvl
I             CONTRACT                                              TORTS                                      FORFElmRE/PENALTI'                          BNNl<RUPTOY                     OlllERSTATUTES
 0    110 Insurance                          PERSONAL INJURY                   PERSONAL INJURY        D 610 Agriculture                          D 422 Appeal 28 USC 158            0   400 State Reapportionment
 0    120Marine                        0      310 Airplane                  D 362 Personal Injury -   D 620 Other Food & Drug                    D 423 Withdrawal                   0   410 Antitrust
 0    130 Miller Act                   0      3 I 5 Airplane Product                Med. Malpractice  D 625 Drug Related Seizure                        28 USC 157                  0   430 Banks and Banking
 0    140 Negotiable Instrument                     Liability               D 365 Personal Injury -         of Property 21 USC 881                                                  0   450 Commerce
 0    150 Recovery of Overpayment      D      320 Assault, Libel &                  Product Liability D 630 Liquor Laws                              PROPERTY RIGHTS                0   460 Deportation
           & Enforcement of Judgment                Slander                 D 368 Asbestos Personal   D 640 R.R. & Truck                         D 820 Copyrights                   0   470 Racketeer Influenced and
 D    151 Medicare Act                 0      330 Federal Employers'                Injury Product    D 650 Airline Regs.                        D 830 Patent                                Corrupt Organizations
 D    152 Recovery of Defaulted                     Liability                       Liability         D 660 Occupational                         D 840 Trademark                    D   480 Consumer Credit
           Student Loans               0      340 Marine                     PERSONAL PROPERTY               Safety/Health                                                          D   490 Cable/Sat TV
           (Exel. Veterans)            0      345 Marine Product            D 3 70 Other Fraud        D 690 Other                                                                   D   810 Selective Service
                                                                                                                                                     ~~nu
 D    153 Recovery of Overpayment                   Liability               D 3 71 Truth in Lending                 dNMW
                                                                                                                                                                                    D   850 Securities/Commodities/
           of Veteran's Benefits       D      350 Motor Vehicle             D 380 Other Personal      D 710 Fair Labor Standards                 D 861 HIA (1395ft)                          Exchange
 D    I 60 Stockholders' Suits         D      355 Motor Vehicle                    Property Damage          Act                                  D 862 Black Lung (923)             D   875 Customer Challenge
 D    190 Other Contract                            Product Liability       D 3 85 Property Damage    0 720 Labor/Mgmt. Relations                0 863 DIWC/DIWW (405(g))                     12 USC 3410
 0    195 Contract Product Liability   D      360 Other Personal                   Product Liability  0 730 Labor/Mgmt.Reporting                 0 864 SSID Title XVI               D   890 Other Statutory Actions
 D    196 Franchise                                 lniurv                                                 & Disclosure Act                      0 865 RSI (405/g))                 0   891 Agricultural Acts
I         REAL PROPERTY                         CimLRIGllTS                  PRISONER PETITIONS D 740 Railway Labor Act                            FEDE'.RAL TAX SUlTS              0   892 Economic Stabilization Ac
 D    2 IO Land Condemnation           D      441 Voting                    0 510 Motions to Vacate   D 790 Other Labor Litigation               0 870 Taxes (U.S. Plaintiff        0   893 Environmental Matters
 D    220 Foreclosure                  D      442 Employment                       Sentence           D 791 Empl. Rel. Inc.                                or Defendant)            0   894 Energy Allocation Act
 D    230 Rent Lease & Ejectrnent      D      443 Housing/                     Habeas Corpus:               Security Act                         D 871 IRS-Third Party              0   895 Freedom of Information
 D    240 Torts to Land                            Accommodations           0 530 General                                                               26 USC 7609                          Act
 0    245 Tort Product Liability       D      444 Welfare                   D 535 Death Penalty              ll\1MlGRATION                                                          0   900Appeal of Fee Determinatic
 0    290 All Other Real Property      D      445 Amer. w/Disabilities -    0 540 Mandamus & Other D 462 Naturalization Application                                                          Under Equal Access
                                                   Employment               D 550 Civil Rights        D 463 Habeas Corpus -                                                                  to Justice
                                       D      446 Amer. w/Disabilities -    D 555 Prison Condition         Alien Detainee                                                           0   9 50 Constitutionality of
                                                   Other                                              D 465 Other Immigration                                                                State Statutes
                                       QI(    440 Other Civil Rights                                       Actions




 V. ORIGIN                     (Place an "X" in One Box Only)                                                                                                                                       Appeal to Distric1
                                                                                                       0 4                     O 5                                                                  Judge from
 IR I Original                0 2   Removed from           O          3    Remanded from                     Reinstated or
                                                                                                             Reopened
                                                                                                                                         Transferred from
                                                                                                                                         anoth_er d1stnct
                                                                                                                                                                 0 6   Multidistrict     0 7        Magistrate
          Proceeding                State Court                            Appellate Court                                                                             Litigation
                                                                                                                                          S ec1 r                                                   Jud!!rnent
                                                Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                                 42 USC 1983
VI. CAUSE OF ACTION                             Briefdescriptionofcause:
                                                     FAL E ARRESTS AND MALICIOUS PROSECUTION UNDER COLOR OF LAW
VII. REQUESTED IN                               0     CHECK IF THIS IS A CLASS ACTION                          DEMAND $                                      CHECK YES only if demanded in complaint:
     COMPLAINT:                                       UNDER F.R.C.P. 23                                1,000,000.00                                          JURY DEMAND:                ff Yes       O    No

VIII. RELATED CASE(S)
                                                    (See instructions):
      IF ANY                                                               JUDGE         VILARDO                                                     DOCKET NUMBER             16- 628
DATE                                                                            SIGNATURE OF ATTORNEY OF RECORD

     08/06/2020
FOR OFFICE USE ONLY

     RECEIPT#                       AMOUNT                                        APPL YING IFP                                        JUDGE                               MAG.JUDGE
